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                                Nebraska Court of A ppeals A dvance Sheets
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                                        IN RE INTEREST OF DONALD B. &amp; DEVIN B.
                                                  Cite as 27 Neb. App. 126



                               In   re I nterest of  Donald B. and Devin B.,
                                          children under 18 years of age.
                                          State of Nebraska, appellee, v.
                                              Candice I., appellant.
                                                       ___ N.W.2d ___

                                            Filed April 16, 2019.    No. A-18-675.

                1.	 Juvenile Courts: Appeal and Error. An appellate court reviews juve-
                    nile cases de novo on the record and reaches a conclusion independently
                    of the juvenile court’s findings.
                2.	 Parental Rights: Proof. Under Neb. Rev. Stat. § 43-292 (Reissue
                    2016), in order to terminate parental rights, the State must prove, by
                    clear and convincing evidence, that one or more of the statutory grounds
                    listed in the section have been satisfied and that termination is in the
                    child’s best interests.
                3.	 Juvenile Courts: Parental Rights. A court may accept a parent’s
                    in-court admission as to all or any part of the allegations in a petition
                    for the termination of parental rights.
                4.	 ____: ____. When a parent admits all or part of the allegations in a
                    petition for termination of parental rights, the court must still ascertain a
                    factual basis for the admission.

                 Appeal from the Separate Juvenile Court of Douglas County:
               Chad M. Brown, Judge. Affirmed.

                    John J. Ekeh, of Ekeh Law Office, for appellant.

                 Donald W. Kleine, Douglas County Attorney, and Natalie
               Killion for appellee.

                    Moore, Chief Judge, and Pirtle and A rterburn, Judges.
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             IN RE INTEREST OF DONALD B. &amp; DEVIN B.
                       Cite as 27 Neb. App. 126
  A rterburn, Judge.
                       INTRODUCTION
   Candice I. appeals from an order of the separate juvenile
court of Douglas County that terminated her parental rights
with respect to her son Devin B. On appeal, Candice argues
that the juvenile court erred in accepting her admission to
allegations in the termination motion as a voluntary relinquish-
ment of her parental rights to Devin. She also argues that the
court erred in terminating her parental rights with respect to
one of her sons but not the other. Based on the following, we
affirm the juvenile court’s decision.
                         BACKGROUND
   Candice is the mother of two sons: Donald B., who was
born in July 2003, and Devin, who was born in October 2004.
On January 11, 2018, the State filed a third motion for termi-
nation of Candice’s parental rights with respect to both of her
sons. A hearing on the motion was held on June 8, at which
time the parties advised the court that they had negotiated an
agreement. Candice agreed to enter an admission to certain
allegations contained in the third motion for termination as it
related to Devin, and the State agreed in exchange to dismiss
the motion’s remaining allegations and remove Donald from
the motion altogether. The State and Candice agreed that her
admission would be treated as a voluntary relinquishment of
her parental rights with respect to Devin so as to prevent the
State or any other party from using the termination of her
rights as to Devin against her with respect to Donald or any
other child.
   In accepting the parties’ agreement, the court began by
advising Candice of her rights and the possible consequences
of the agreement. The court then discussed the terms of
the parties’ agreement before reviewing the motion’s specific
counts that Candice was admitting were true. Candice admitted
that counts I, II, IV, IX, and X of the third motion for termina-
tion of parental rights were true.
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             IN RE INTEREST OF DONALD B. &amp; DEVIN B.
                       Cite as 27 Neb. App. 126
   Count I of the third motion for termination of parental rights
alleged that Devin had been found to be a juvenile within the
meaning of Neb. Rev. Stat. § 43-247(3)(a) (Reissue 2016)
on June 24, 2015. Count II alleged that Candice had been
ordered to comply with various rehabilitation plans on June
24 and December 22, 2015; June 16 and December 14, 2016;
June 27, 2017; and January 4, 2018. Count IV alleged that
Devin fell within the meaning of Neb. Rev. Stat. § 43-292(1)
(Reissue 2016), because he was a juvenile who had been
abandoned by Candice for 6 or more months immediately
prior to the petition’s filing. Count IX alleged that termina-
tion of Candice’s parental rights to Devin was in Devin’s best
interests. Count X alleged that reasonable efforts under Neb.
Rev. Stat. § 43-283.01 (Cum. Supp. 2018) were not required,
because Candice had subjected Devin to aggravating circum-
stances, including abandonment. Candice also acknowledged
the benefits of the agreement, namely the State’s inability to
use the voluntary relinquishment against her in future proceed-
ings and that the termination proceedings as to Donald would
be dismissed.
   The factual basis given by the State established that Devin
was removed from parental care on March 24, 2015, and that
Candice did not have any contact with Devin for approxi-
mately 2 years before the third motion for termination of
parental rights was filed on January 11, 2018, despite the
court’s allowing her to have contact with him. Following
Devin’s removal in 2015, Candice was ordered to engage with
certain services offered by the State in pursuit of reunification
and did not follow through with these services. A caseworker
would testify that she made efforts at engaging Candice in
reunification services. The caseworker would also testify based
on her education, training, and experience with the family that
it would be in Devin’s best interests that Candice’s parental
rights be terminated. The caseworker would further testify that
Candice had not made sufficient progress, and the caseworker
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             IN RE INTEREST OF DONALD B. &amp; DEVIN B.
                       Cite as 27 Neb. App. 126
and other witnesses would testify that Candice lacked contact
with Devin for a significant period of time.
   When the State concluded its presentation of the factual
basis for Candice’s admission, Candice stated that she under-
stood what evidence would be presented and did not dispute
the factual basis. Accordingly, the court found that there was
a factual basis for Candice’s admission of the allegations in
counts I, II, IV, IX, and X of the third motion for termination
of her parental rights. The court noted that count III of the
motion was also satisfied because the court took judicial notice
of the case file, which was presented as an exhibit. The court
further found that Candice’s admission was knowingly, intel-
ligently, and understandingly made. Thus, the court terminated
Candice’s parental rights with respect to Devin. Pursuant to
the parties’ agreement, the State then moved to dismiss the
motion’s remaining allegations. The remainder of the hearing
largely revolved around the future case plan for Donald, which
maintained a goal of reunification with a concurrent goal
of guardianship.
   The court entered an order dated June 8, 2018, which stated
that termination of Candice’s parental rights was in Devin’s
best interests and that it therefore accepted Candice’s vol-
untary relinquishment of her parental rights with respect to
Devin. The court ordered Devin to be placed into the custody
of the Nebraska Department of Health and Human Services
(the Department) for adoption planning and placement. In the
same order, the court also noted that the permanency planning
objective with respect to Donald was reunification concurrent
with guardianship.
   Candice now appeals.

               ASSIGNMENTS OF ERROR
  Candice assigns that the juvenile court erred in accepting
her admission to allegations in the termination motion as a
voluntary termination of her parental rights with respect to
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             IN RE INTEREST OF DONALD B. &amp; DEVIN B.
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Devin and further erred in terminating her parental rights with
respect to one of her two sons but not the other.
                   STANDARD OF REVIEW
   [1] An appellate court reviews juvenile cases de novo on the
record and reaches a conclusion independently of the juvenile
court’s findings. In re Interest of Noah B. et al., 295 Neb. 764,
891 N.W.2d 109 (2017).
                           ANALYSIS
   [2-4] Under § 43-292, in order to terminate parental rights,
the State must prove, by clear and convincing evidence, that
one or more of the statutory grounds listed in the section have
been satisfied and that termination is in the child’s best inter-
ests. In re Interest of Nicole M., 287 Neb. 685, 844 N.W.2d 65(2014). A court may accept a parent’s in-court admission as to
all or any part of the allegations in a petition for the termina-
tion of parental rights. Neb. Rev. Stat. § 43-279.01(3) (Reissue
2016). See In re Interest of Zanaya W. et al., 291 Neb. 20, 863
N.W.2d 803 (2015). When a parent admits all or part of the
petition’s allegations, the court must still ascertain a factual
basis for the admission. § 43-279.01(3).
   In the present case, Candice does not dispute the factual
basis accepted by the juvenile court. Instead, she argues, “The
Court has no authority to accept [Candice’s] relinquishment
pursuant to Nebraska Law.” Brief for appellant at 9. On the
contrary, § 43-279.01(3) empowers juvenile courts to accept a
parent’s in-court admission of the allegations in a petition for
the termination of parental rights so long as there also exists a
factual basis for the admission. See In re Interest of Zanaya W.
et al., supra (affirming termination of father’s parental rights
where he admitted neglect allegation under § 43-292(2) and
for which State provided sufficient factual basis).
   Candice admitted portions of the third motion for termina-
tion of her parental rights, including count IV, which alleged
that Candice had abandoned Devin for a period of 6 months or
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             IN RE INTEREST OF DONALD B. &amp; DEVIN B.
                       Cite as 27 Neb. App. 126
more immediately prior to the petition’s filing. This established
that Devin came within the meaning of § 43-292(1). The court
accepted Candice’s admission, finding that it was knowingly,
intelligently, and understandingly made. The court thereafter
accepted the State’s factual basis, which included mention that
Candice had no contact with Devin for approximately 2 years
before the motion for termination was filed and had not fol-
lowed through with the services offered to her.
   In her brief on appeal, Candice cites two cases in support
of her argument that the juvenile court could not accept her
admission as a voluntary termination of her parental rights:
In re Interest of Gabriela H., 280 Neb. 284, 785 N.W.2d 843(2010), and In re Interest of Cornelius K., 280 Neb. 291, 785
N.W.2d 849 (2010). Neither of these cases is analogous to the
present case.
   Unlike the present case, the Department was the appel-
lant in both In re Interest of Gabriela H. and In re Interest of
Cornelius K. In In re Interest of Gabriela H., the Department
appealed from a juvenile court’s order that directed the
Department to accept a voluntary relinquishment of parental
rights. Both of the child’s parents decided to relinquish their
parental rights, but the Department asked the court to defer
action on their relinquishment until it could find an adoptive
home for the child. Notably, one of the child’s parents was
making substantial child support payments, which partially
offset the Department’s costs with respect to the child. On
appeal, the Nebraska Supreme Court held that a juvenile court
has authority to order the Department to accept a voluntary
relinquishment of parental rights when the child has already
been adjudicated pursuant to § 43-247(3)(a) and a permanency
objective of adoption has been determined.
   On appeal, the court in In re Interest of Cornelius K. first
reaffirmed its holding in In re Interest of Gabriela H. before
addressing a slightly different factual scenario. The juvenile
court in In re Interest of Cornelius K. had accepted a volun-
tary relinquishment of parental rights before any adjudication
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             IN RE INTEREST OF DONALD B. &amp; DEVIN B.
                       Cite as 27 Neb. App. 126
or permanency plan was developed for the child. This did not
follow the procedure outlined in In re Interest of Gabriela H.
Thus, the Supreme Court held that the relinquishment in In
re Interest of Cornelius K. was not legally accepted, therefore
constituting procedural error by the juvenile court.
   Neither of these cases has any bearing on the case now
before us. We find that the juvenile court was empowered to
accept Candice’s admission to the allegations contained in the
third motion for termination of her parental rights and to rely
on her admission in terminating her parental rights.
   Candice also argues in the present case that the juvenile
court erred in terminating her parental rights with respect
to Devin but not Donald. We note that the State argued in
response that Devin needed permanency more than Donald due
to their disparate ages. The State’s brief on appeal indicated
that Devin was 14 years old at the time of the termination
hearing, while Donald was 18 years old. This is incorrect.
Our record shows that Devin was born in October 2004, while
Donald was born in July 2003, making them ages 13 and 14,
respectively, at the time of the termination hearing. However,
the age of the children is not germane to our analysis.
   Candice specifically alleges, “You cannot terminate on one
child and not the other.” Brief for appellant at 10. Candice’s
proposition is not supported in our case law. We have found
that it is appropriate in some instances to terminate parents’
rights with respect to some, but not all, of their children. In In
re Interest of Justin H. et al., 18 Neb. App. 718, 791 N.W.2d
765 (2010), we found that the parental rights of the mother and
father should be terminated as to some, but not all, of the chil-
dren. We noted that one of the children had sexually assaulted
another of the children. We found that due to the safety con-
siderations for the remaining children in the home and the
ongoing issues that needed to be addressed with the offending
child, the parents could not protect the remaining children in
the home. We also found that the evidence demonstrated that
the victimized child had been so traumatized by the sexual
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             IN RE INTEREST OF DONALD B. &amp; DEVIN B.
                       Cite as 27 Neb. App. 126
assault that the child was never going to be able to feel safe
in his parents’ home. As a result, the evidence supported ter-
minating the parental rights with respect to only those two
children. However, the evidence did not support termination as
to the remaining children.
   Moreover, the termination in the present case was volun-
tary. Candice admitted that the factual basis was true and that
it was in Devin’s best interests to have her parental rights
terminated. Nonetheless, Candice relies on In re Interest
of Xavier H., 274 Neb. 331, 740 N.W.2d 13 (2007), which
reversed the termination of a mother’s parental rights with
respect to one of her three children. In In re Interest of
Xavier H., the State made no attempt to adjudicate or seek ter-
mination of the mother’s rights to the youngest child’s older
siblings. The State sought termination of her rights to the
youngest child based on a number of factors, which included,
but were not limited to, the difficulties that the mother had in
managing the two children she had custody of, particularly
when considered in light of the heightened demands that
would exist by adding a third child to the household. The
Supreme Court was troubled by the State’s contrasting posi-
tion as to the three children. Finding that it could not account
for the inconsistency of those positions, the court found that
the mother’s rights as to the youngest child should not be ter-
minated. Additionally, the Supreme Court also cited numerous
other factors, which did not favor termination. These included
several areas of improvement with respect to the mother’s
mental health, employment, and parenting abilities in reaching
its conclusion.
   The present case is much different from In re Interest of
Xavier H. Here, Candice agreed that a factual basis existed
for termination of parental rights and that termination was
in Devin’s best interests. Moreover, she received the benefit
of being able to avoid trial and work toward reunification
with respect to Donald. Our record demonstrates the basis
for this distinction. The record shows that although Candice
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             IN RE INTEREST OF DONALD B. &amp; DEVIN B.
                       Cite as 27 Neb. App. 126
ceased having contact with Devin more than 2 years prior to
the State’s filing the third petition for termination of parental
rights, she was maintaining contact with Donald. Her case-
worker testified that therapeutic visits were going well and that
reports from the therapist and Donald’s foster parent were posi-
tive. Candice was enrolled in an outpatient treatment program
and was testing negative for drugs. Plans were being made to
begin supervised visitation.
   While the record is not clear why Candice was engaged in
services aimed at strengthening her relationship with Donald
while not doing so as to Devin, it is clear that she entered
into the agreement with the State knowingly, voluntarily, and
intelligently. She waived her rights and entered her admission
with full knowledge of the repercussions. Based on the record
before us, we can find no basis to set the parties’ agreement
aside and return the case to the status that existed prior to its
inception. We therefore find her argument without merit and
affirm the order of the juvenile court that terminated Candice’s
parental rights with respect to Devin but not Donald.
                         CONCLUSION
   Based on our de novo review of the record, we find that the
juvenile court did not err in relying on Candice’s admissions
as a voluntary termination of her parental rights. Moreover, we
find that the juvenile court did not err in terminating Candice’s
parental rights with respect to one of her two sons pursuant to
her agreement with the State. We therefore affirm the order
of the juvenile court that terminated Candice’s parental rights
with respect to her son Devin.
                                                      A ffirmed.
